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EXHIBIT .]

ease 1:09-cv-00597-i_i\/ie-TCB Document 33-11 i=iled 10/23/09 Page 2 or 3 Pag‘é€i§?#‘s‘§f

Roth, Meiissa R.

From: isabel lvl Humphrey [isabel@hhylaw.com]
Sent: Tuesday, October 06, 2009 2:47 PN|

To: lliici~<insonl N|ichelle J.

Cc: d|udwig@dglegal.com; Roth, lV|e|issa R.
Subject: RE: Loomis

l\/iichellel Joe has been working with a vendor in Canacla on the document conversionsl but they are having a
problem With his Outlool< files The conversion process keeps skipping large numbers of emails. The problem
supposedly may have something to do with some of the emai|s originating from Of'fice 2003 (rather than Office
2007), and/or with the sheer size of Joe's .pst tilel but no solution has been identified thus far The vendor

is running various tests in an attempt to resolve the issue, but this is taking longer than expectedl

Given our schedulel Joe has offered to provide his email disclosures in native format to get them to you more
quickly Let me know if you would like to take him up on this offer andl if so, how you think we could best handle
document control_

isabel Nl. Humphrey, Esq.

HUNTER. HUMPHREY & YAV|TZ, PLC
2633 E indian School Rd, #440
Phoenix, Arizona 85016

Telephone: 602-275-7733 x103
Direct Fax: 480-452-1374
isabel@hhylaw.com
www.hhylaw.com

NOTlCE: This e~mai| rhay contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited lf you are not the
intended recipient please contact the sender and delete and destroy all copies. Tnank you.

---- Original iVlessage ----

From: "Dickinson, Niichel|e J."

To: "|sabel Nl l-lumphrey" , "Randy Yavitz" .
Sent: 10105!2009 10:22AN|

Subject: Loomis

Counsel:
We are concerned that your clients have several outstanding discovery issues that need to be addressed
completely before we begin depositionsl We would like to set up a call to discuss the following discovery issues:

¢ Responses to our letters dated September 9, 18, and 25 regarding denciencies in your clients' discovery
responses;

o Your clients' production of dccuments;

o imaging of computers; and

¢ Deposition dates.

We can be available today at 3 p.m. EST or tomorrow at 4 p.m. EST. Please let me know if if either of
those times works for you. Thanl<s.
Nliche!le

P|ease consider the environment before printing this email.

The informationcontained lin-this emai| may be confidential and/or |egai|y privileged It has been sent for the sole use oi` the

10/22/2009

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directly, send to postmaster@dlapiper.com. Thank you.

Information from ESET NOD32 Antivirus, version of virus signature database 4482
(20091005)

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10/22/2009

